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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,

          Plaintiffs,

 v.                                                    Civil Action No. 1:25-cv-352-CJN

 PRESIDENT DONALD J. TRUMP, et al.,

          Defendants.


 PERSONAL SERVICES CONTRACTOR
 ASSOCIATION,

          Plaintiff,

 v.                                                    Civil Action No. 1:25-cv-00469

 PRESIDENT DONALD TRUMP, et al.,

          Defendants.



                               DECLARATION OF ERICA CARR

         I, Erica Carr, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1. This declaration is based on my personal knowledge and information provided to me in my

official capacity by others.

      2. I am the Acting Executive Secretary in the Executive Secretariat (ES) of the U.S. Agency

for International Development (USAID) and have served as both the Acting ES and Deputy ES

since July 2019. I joined USAID in June 2009 and, most recently, was the Senior Advisor to the

Director of Security for Operations in the Office of Security. Prior to that, I served as the Branch



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Chief for the Personnel Security Division and was also an Investigative Program Manager with

the Office of Security.

   3. On March 11, 2025, as part of the decommissioning of the former USAID space at the

Ronald Reagan Building, 34 employees of USAID, all holding Secret-level or higher clearance,

removed outdated and no longer needed derivatively classified documents in classified safes and

sensitive compartmentalized information facilities (SCIFs).

   4. I was the logistics coordinator for this event in my role as Acting Executive Secretary, as I

have coordinated other pieces of decommissioning such as personal item retrieval for staff at the

Ronald Reagan Building and satellite buildings.

   5. The General Services Administration (GSA) and the new lessee of the space at the Ronald

Reagan Building, U.S. Customs and Border Protection (CBP), asked that USAID remove these

documents by March 11, 2025 if possible, but no later than March 31, 2025.

   6. The vast majority of the removed documents were either (1) copies of classified documents

that were originally classified by other government agencies, or (2) derivatively-classified

documents that were created for the purposes of, but not limited to, high-level meetings, official

government travel, and intelligence briefings, which USAID no longer has a need to retain.

Original copies of the classified documents are retained by other government agencies, or they are

maintained in electronic format on classified systems.

   7. USAID provided instruction via email directly to 34 staff assisting in this matter to retain

any originally classified USAID documents if they had not met their retention requirement in

accordance with the disposition schedule approved by the National Archives and Records

Administration (NARA), as well as current classified program files. These documents would be

safeguarded in the Ronald Reagan Building vault until permanent storage was identified.



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Classified documents housed in Bureaus and Offices that were unable to provide assistance with

this effort remain untouched, and classified records remain in their respective classified safes for

those Bureaus and Offices that did not participate.

   8. The USAID Office of Human Capital and Talent Management (HCTM) was given an

opportunity to participate in yesterday’s record management activity to identify and safeguard

personnel records in accordance with the records management disposition schedule. None of the

destroyed documents, which are all classified, are personnel records. Any personnel records

remaining in the Ronald Reagan Building were retained.

   9. USAID complied with 5 C.F.R. § 1312 and Executive Order 13526 as part of the removal

of classified documents, which is customary and required for proper records management.

   10. Personnel from the USAID Bureau for Management, Office of Management Services,

Information and Records Division, who administer the Agency’s records management program

and are knowledgeable of the requirements of the Federal Records Act (FRA), were consulted for

yesterday’s decommissioning process. The classified documents destroyed or identified for

destruction were not permanent “records” or they had met their retention requirements. See Exhibit

A (email distinguishing “records” and “non-records”).

   11. USAID provides mandatory records management training that I have previously

completed. USAID staff assisting in this process were also required to complete the same records

management training prior to yesterday’s decommissioning process, including yearly security

training in how to properly safeguard and dispose of classified documents. This yearly training

includes the proper destruction of classified documents which have reached their retention

requirements, which includes either the use of an approved classified shredder or burn bags.




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   12. Due to limited classified shredders, most of the documents were placed in approved burn

bags and securely stored within the Ronald Reagan Building for future destruction where they

currently remain untouched. USAID will hold all classified burn bags and their full contents prior

to the Court’s ruling on the motions for temporary restraining orders in these cases.

   13. As to any other documents, USAID will not destroy any additional documents stored in

USAID offices of the Ronald Reagan Building without giving notice to the Plaintiffs and an

opportunity for them to raise the issue with the Court.

   I declare that the foregoing is true and correct to the best of my knowledge.

   Dated: March 12, 2025



                                                     ____________
                                                                ___________
                                                     ____________________________
                                                     Erica Carr




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                         Exhibit A
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                                                                                             Erica Carr <ecarr@usaid.gov>



Removing Historical Classified Records or Sensitive Personnel Records from RRB Safes
Erica Carr <ecarr@usaid.gov>                                                                         Thu, Mar 6 at 10:43 AM
To: SEC Information Security <secinformationsecurity@usaid.gov>
Bcc: Leo Ruth <lruth@usaid.gov>, Phillip Dixon <pdixon@usaid.gov>, Patrick Butler <pjbutler@usaid.gov>, Jason Gray
<jasgray@usaid.gov>, Zecharia Kahn <zkahn@usaid.gov>, Adam Korzeniewski <akorzeniewski@usaid.gov>, Frederick Guy
<frguy@usaid.gov>, Ryan Shrum <rshrum@usaid.gov>, Timothy Meisburger <tmeisburger@usaid.gov>, Laken Rapier
<lrapier@usaid.gov>, Mark Lloyd <mlloyd@usaid.gov>, Meghan Hanson <mhanson@usaid.gov>, Tera Dahl <tdahl@usaid.gov>,
Aiyong (Paul) Seong <aseong@usaid.gov>, AID.ES Tasker Mail List (USAID) <AID.ESTaskerMailListUSAID@usaid.gov>, Brian
Frantz <bfrantz@usaid.gov>, Peter Young <pyoung@usaid.gov>, Andrew Plitt <aplitt@usaid.gov>, James Hope
<jhope@usaid.gov>, Gregory Howell <ghowell@usaid.gov>, Kent Benson <kbenson@usaid.gov>, Nancy Mausolf
<nmausolf@usaid.gov>, Lynn Winston <lwinston@usaid.gov>, Rebecca Krzywda <rkrzywda@usaid.gov>, Christopher Colbow
<ccolbow@usaid.gov>, Sepideh Keyvanshad <skeyvanshad@usaid.gov>, Lauren Shaw <lshaw@usaid.gov>, AFSA Mailbox
<afsa@usaid.gov>, Kimberly Sais <ksais@usaid.gov>, Edward Thomas <edthomas@usaid.gov>, Laura Khan
<lakhan@usaid.gov>, Trisa Savoy <tsavoy@usaid.gov>, Shari Morris <shmorris@usaid.gov>, Belindia Singleton
<bsingleton@usaid.gov>, Angela Muenzer <amuenzer@usaid.gov>, Michelle Johnson <mijohnson@usaid.gov>, Deborah Allen-
LaSalle <dallenlasalle@usaid.gov>, Tracy Quilter <tquilter@usaid.gov>, Rosemary Heath <rheath@usaid.gov>, Rachael Young
<rayoung@usaid.gov>, Christophe Tocco <ctocco@usaid.gov>, Kenneth Payne <kpayne@usaid.gov>, Rochelle Sales
<rsales@usaid.gov>, Diane Sloan <dsloan@usaid.gov>

  Colleagues,
  The Office of Security and CST must remove/properly dispose of all personnel records and classified
  documents remaining in classified safes and SCIFs in the former USAID headquarters at the Ronald
  Reagan Building.

  In order to determine if there are historical classified records or originally classified documents that must be
  maintained until they meet their disposition date, we need your assistance.

  If you are aware of historical classified documents and personnel records that are only maintained in paper
  copy and were not produced on a classified IT system, such as ClassNet or JWICS please reply by
  Thursday, March 6, 2025 at 5:00p.m.

  Examples of records to keep include memos, briefers, official correspondence, reports, policy directives, or
  meeting minutes containing classified information and have retention value.

  Examples of non-records that can be disposed include records deriving from other agencies/departments,
  drafts, duplicates, working papers, reference copies, personal notes, or transitory emails containing
  classified information but lacking long-term retention value.

  Please send an unclassified email using the following structure to secinformationsecurity@usaid.gov:

  Subject: DOCUMENT RETRIEVAL FROM RRB SAFE

  Body: The body of the email should only provide the following information:
        The office location (Bureau/Room Number) where the safe is located.
        Two points of contact who could identify the historical classified documents.

  If you have any questions please contact Leo Ruth, Office of Security.

  Kind regards,
Erica Carr      Case
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Erica Y. Carr
Acting Executive Secretary
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(571) 216-1733- Work Cell
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ClassNet:TTL-USAID@state.sgov.gov
ClassNet:CarrE1@state.sgov.gov
